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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,                     )
                                               )
                      Plaintiff,               )
                                               )    C.A. No. 1:19-cv-01024-RGA
       v.                                      )
                                               )
CONAGRA BRANDS, INC.,                          )
                                               )
                      Defendant.               )


                      NOTICE OF DISMISSAL WITH PREJUDICE

       Plaintiff Symbology Innovations LLC, pursuant to Rule 41(a) of the Federal Rules of

Civil Procedure, herby provides notice that it dismisses WITH PREJUDICE all claims in this

cause of action against Defendant Conagra Brands, Inc. Each party shall bear its own costs,

expenses, and attorneys’ fees.


Dated: September 27, 2019                   Respectfully submitted


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                                   Attorney(s) for Plaintiff Symbology Innovations,
                                   LLC.


      SO ORDERED.


Dated:___________________          ____________________       __________
                                   Honorable Richard G. Andrews
                                   U.S. District Judge




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